         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 1 of 30




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

MARK ANDREWS,
                   Plaintiff,
                                                 Case No. 1:22-CV-04259-SDG
v.

DINESH D’SOUZA, TRUE THE VOTE,
INC., CATHERINE ENGLEBRECHT,
GREGG PHILLIPS, D’SOUZA MEDIA
LLC, SALEM MEDIA GROUP, INC.,
REGNERY PUBLISHING, INC., and
JOHN DOES,
                   Defendants.


 BRIEF IN SUPPORT OF DEFENDANTS SALEM MEDIA GROUP, INC.’S
     AND REGNERY PUBLISHING, INC.’S MOTION TO DISMISS

                                         S. DEREK BAUER
                                         IAN K. BYRNSIDE
                                         KRISTEN RASMUSSEN
                                         JACQUELINE T. MENK
                                         GEORGIA L. BENNETT

                                         BAKER & HOSTETLER LLP
                                         1170 Peachtree Street, NE, Suite 2400
                                         Atlanta, Georgia 30309-7676
                                         Telephone: (404) 459-0050
                                         Facsimile: (404) 459-5734

                                         Attorneys for Defendants
                                         Salem Media Group, Inc.
                                         and Regnery Publishing, Inc.




4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 2 of 30




         Defendants Salem Media Group, Inc. (“Salem”) and Regnery Publishing, Inc.

(“Regnery”) hereby file this Brief in Support of their Motion to Dismiss Plaintiff’s

Complaint and respectfully submit that the First Amended Complaint (Doc. 27) (the

“FAC”) filed by Plaintiff Mark Andrews (“Plaintiff”) should be dismissed for failure

to state a claim upon which relief can be granted.1

                                I.     INTRODUCTION
         This case arises out of certain statements and images published in a film and

a book, both of which are entitled 2000 Mules, and both of which examine issues

related to election integrity in the United States, including the 2020 presidential

election. The film and book contain images of several individuals depositing ballots

in public drop boxes who, based on surveillance video, geotracking, and other facts

and data disclosed in the film and the book, are generally described by certain

speakers in the film and the author of the book as ballot “mules.”

         None of the individuals is named, identified, or readily recognizable in the

film or the book. Indeed, Plaintiff’s own allegations show that Salem and Regnery

took steps to de-identify all individuals included in the film and the book and to

avoid depicting them in any identifiable way, including by blurring their images


1
 Plaintiff incorrectly named “Regnery Publishing, Inc.” as a defendant in his FAC.
All arguments set forth herein on behalf of Regnery apply equally to Salem
Communications Holding Corporation d/b/a Regnery Publishing.
                                          -1-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 3 of 30




when they appeared in the film or the book. Nevertheless, Plaintiff contends that he

is one of the individuals shown in the blurred images included in the film and the

book, that his unblurred image and license plate were shown by other Defendants

and third parties on other, non-Salem platforms which allowed him to be identified,

and that all of the “Defendants” falsely accused him of illegally depositing ballots

into drop boxes and engaging in criminal conduct.

         The FAC is rooted in defamation and other derivative claims asserting

reputational injury, but also asserts claims for conspiracy in violation of § 1985(3)

of the Civil Rights Act and violation of § 11(b) of the Voting Rights Act. As

explained below, all of Plaintiff’s claims against Salem and Regnery fail as a matter

of law and the FAC should be dismissed with prejudice.

                   II.   SUMMARY OF PLAINTIFF’S ALLEGATIONS

         Plaintiff alleges the following relevant facts in support of his FAC: Defendant

Dinesh D’Souza is a writer, filmmaker, podcaster, and media personality who

directed, produced, and narrated a documentary film regarding election integrity

called 2000 Mules and later authored a book by the same title. 2 (Doc. 27 at ¶ 18.)

Defendant True the Vote, Inc. (“TTV”) is an organization that works to ensure


2
 Salem and Regnery recognize that the Court must accept the allegations in the FAC
as true for purposes of this Motion. While Salem and Regnery therefore recite certain
allegations of the FAC herein, they do not admit any of those allegations are true.
                                           -2-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 4 of 30




election integrity, and it provided much of the research that is included in the film

and the book. (Id. at ¶¶ 19-20.) Defendants Catherine Engelbrecht and Gregg

Phillips are associated with TTV, were executive producers and producers of the

film, are quoted in the book, and made media appearances promoting the film and

book. (Id. at ¶¶ 20-22.) Salem is a multi-media company, generating most of its

revenue from owned and operated radio stations. (Id. at ¶ 25.) Although Plaintiff

alleges Salem is “responsible for” the film 2000 Mules, he does not identify what

role Salem had in the film or how Salem is “responsible” for the film, other than

suggesting that Salem may have “provided the equity investment” for the film. (Id.

at ¶¶ 25, 76.) Regnery is a publishing company that operates as a subsidiary of Salem

and that published the book 2000 Mules. (Id. at ¶ 26.)

         The film and the book contain blurred images and video from surveillance

footage of multiple individuals, including Plaintiff, depositing ballots at unidentified

public drop boxes, as well as statements that the individuals are “mules” engaged in

voter fraud or criminal activity. (Id. at ¶¶ 6-7, 9, 36-37, 74.) Plaintiff’s face is

obscured in all the images of him that are included in the film and the book, and he

is not identified by name or other personal information in either work. (Id. at ¶¶ 38-

39, 74, 150.) Certain unblurred images and video of Plaintiff depositing ballots in a

drop box were allegedly broadcast or published by Defendants other than Salem and


                                          -3-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 5 of 30




Regnery and/or by other third parties during media appearances and on social media.

(Id. at ¶¶ 50-52, 63, 90, 126, 147, 157, 244.)

         Plaintiff alleges that the images of him in the film and book show him legally

dropping off ballots for himself and his family and that Defendants defamed and

injured him by falsely accusing him of committing voter fraud. (Id. at ¶¶ 2-3.) The

FAC asserts claims for conspiracy in violation of Section 1985(3) of the Civil Rights

Act, violation of Section 11(b) of the Voting Rights Act, defamation, invasion of

privacy by false light, invasion of privacy by appropriation of likeness, civil

conspiracy, and punitive damages. (Id. at ¶¶ 258-322.) The FAC is the epitome of

a “shotgun pleading” in which all counts are asserted against “all Defendants,” with

each count incorporating all previous paragraphs of the FAC. (Id.)

         The FAC, while lengthy, is notable for what it does not allege. Plaintiff does

not allege that Salem or Regnery included his unredacted image or any other

identifying characteristics in the film or book; to the contrary, he alleges the

opposite. (See generally Doc. 27.) Plaintiff does not allege that Salem or Regnery

had any editorial control over the film or book or authored any specific defamatory

statements. (Id.) And Plaintiff does not allege that Salem or Regnery even knew who

Plaintiff was. (Id.) In fact, although the FAC spans 126 pages and 322 paragraphs,

Salem is mentioned in only 12 paragraphs and Regnery is mentioned in only 10


                                           -4-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 6 of 30




paragraphs. (Id. at ¶¶ 3, 25-26, 49, 70, 72-73, 76, 154, 158, 164, 173, 227, 250, 256-

257.) None of those allegations states a claim for relief against Salem or Regnery,

and each of Plaintiff’s claims should be dismissed as to Salem and Regnery.

                   III.   ARGUMENT AND CITATION OF AUTHORITIES
         A.         Legal Standard for Rule 12(b)(6) Motion to Dismiss

         A motion to dismiss under Rule 12(b)(6) should be granted unless the

complaint contains “enough facts to state a claim for relief that is plausible on its

face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The “[f]actual

allegations must be enough to raise a right to relief above the speculative level,” and

“labels and conclusions or a formulaic recitation of the elements of a cause of action

will not do.” Id. at 555; Ashcroft v. Iqbal, 556 U.S. 662, 678-679 (2009). While the

Court must accept the factual allegations of the complaint as true, it “is not required

to accept a plaintiff’s legal conclusions.” Sinaltrainal v. Coca-Cola Co., 578 F.3d

1252, 1260 (11th Cir. 2009); Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185

(11th Cir. 2003). Moreover, under Georgia law, “a claim sounding in libel is a

traditionally disfavored cause of action and the courts tend to construe the complaint

by a somewhat stricter standard.” Escort v. Verizon Commc’ns, Inc., 2005 WL

8155369, at *3 (N.D. Ga. Sept. 27, 2005) (citation omitted). And when faced with a

shotgun pleading, the Court is not required “to sift through the facts presented and


                                            -5-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 7 of 30




decide for itself which [are] material to the particular cause of action asserted.”

Beckwith v. Bellsouth Telecomms., Inc., 146 Fed. Appx. 368, 372 (11th Cir. 2005).

         B.        The FAC Is an Impermissible Shotgun Pleading

         As explained in Salem’s and Regnery’s contemporaneously-filed Motion for

a More Definite Statement, the FAC is an impermissible shotgun pleading that

improperly lumps all “Defendants” together, fails to identify which statements are

defamatory and which statements were allegedly published by which Defendant, and

incorporates all previous counts and allegations into each subsequent count. For the

reasons explained below, no amount of repleading can cure the deficiencies in

Plaintiff’s claims against Salem and Regnery, all of which fail as a matter of law and

should be dismissed with prejudice. To the extent any of Plaintiff’s claims against

Salem or Regnery survive this Motion, the FAC should be dismissed as an improper

shotgun pleading, and Plaintiff should be required to replead his claims.

         C.        The FAC Fails to State a Civil Rights Conspiracy Claim (Count I)
         The FAC fails to establish practically every element required for a viable

claim under 42 U.S.C. § 1985(3).

                   1.   Plaintiff Does Not Allege Invidiously Discriminatory Animus

         Section 1985(3) does not “apply to all tortious, conspiratorial interferences

with the rights of others,” but only those where there is “some racial, or perhaps


                                            -6-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 8 of 30




otherwise class-based, invidiously discriminatory animus behind the conspirators’

action.” Griffin v. Breckenridge, 403 U.S. 88, 102 (1971). This “animus standard

requires that the defendant proceeded on his course of conduct ‘because of, not

merely in spite of, its adverse effects upon an identifiable group.’” Dean v. Warren,

12 F.4th 1248, 1255 (11th Cir. 2021) (citation omitted). That, in turn, requires “two

distinct inquiries: (1) whether there is a ‘qualifying class’ and (2) whether the

defendant was motivated by discriminatory animus against the class.” Id. at 1258.

         The FAC satisfies neither inquiry. First, it identifies no class at all. To the

extent it could be read to contemplate a class consisting of potential voters, drop-

box voters, or the like, that would not suffice: a class must be “more than a group of

individuals who share a desire to engage in conduct that the § 1985(3) defendant

disfavors.” Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 269 (1993).

Second, the FAC does not allege Salem or Regnery was “‘motivated by a purpose

(malevolent or benign) directed specifically at [the qualifying class]’ by reason of

the essential characteristic of that class.” Dean, 12 F. 4th at 1258-59 (citation

omitted). For these reasons, Plaintiff’s Section 1985(3) claim must be dismissed.

                   2.   Plaintiff Does Not Allege an Agreement to Deprive Him of His
                        Civil Rights

         To state a claim under Section 1985(3), a plaintiff must allege facts showing

“an agreement between ‘two or more persons’ to deprive him of his civil rights.”

                                           -7-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 9 of 30




Dickerson v. Alachua Cty. Comm’n, 200 F.3d 761, 767 (11th Cir. 2000) (emphasis

added). It is not enough that a conspiracy “has an effect upon a protected right;”

instead, “its impairment must be a conscious objective of the enterprise.” Bray, 506

U.S. at 275. The FAC contains no such allegation. It alleges only that “Defendants”

agreed to produce and promote a film and book. (See Doc. 27 at ¶ 264.) And the only

factual allegations about Salem or Regnery concern their participation in publishing

activities alone. (Id. at ¶¶ 25–26, 49, 70, 72–73, 76, 154, 164, 173, 227.) Indeed, the

FAC’s only allegations that the “Defendants” agreed to engage in voter intimidation

do not even apply to Plaintiff’s Section 1985 claim, see id. at ¶¶ 316, 318, lack

supporting factual allegations, and are “conclusory and not entitled to be assumed

true.” Ashcroft, 556 U.S. at 681. What remains with respect to Salem and Regnery –

i.e., allegations that media companies participated in publishing media products –

does not “plausibly suggest an illicit accord because it was not only compatible with,

but indeed was more likely explained by, lawful…behavior.” Id. at 680.

                   3.   Plaintiff Does Not Allege Any Force, Intimidation, or Threat

         The FAC also fails to allege that any of the Defendants employed any “force,

intimidation, or threat” to prevent the exercise of Plaintiff’s voting rights. 42 U.S.C.

§ 1985(3). All the alleged “threats” – which consist of hyperbolic quips on social

media and calls for election integrity – are by third parties who are not alleged to


                                            -8-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 10 of 30




have conspired with Salem or Regnery. (Doc. 27 at ¶¶ 209-211.) Because “there are

no allegations whatsoever of any direct participation” by Salem or Regnery in any

force, intimidation, or threat, Plaintiff’s Section 1985(3) claim necessarily fails.

Croy v. Skinner, 410 F. Supp. 117, 125 (N.D. Ga. 1976).

                   4.   Plaintiff Was Not Deprived of Any Rights
         Plaintiff’s Section 1985(3) claim also fails because Plaintiff concedes he has

not been prevented from voting. According to Plaintiff’s own allegations, he voted

in 2020, in the 2022 primaries, and in the 2022 general election. (Doc. 27 at ¶¶ 81,

234, 236, 239.) Plaintiff alleges only that he “is nervous about voting,” id. ¶ 231, not

that Salem or Regnery “prevent[ed]” him from voting, 42 U.S.C. § 1985(3). But “an

attempted deprivation of constitutional or statutory rights” – far beyond anything

alleged here – “is not the same as an actual deprivation,” which is what the statute

demands. Cook v. Randolph County, Ga., 573 F.3d 1143, 1157 (11th Cir. 2009).

         D.        The FAC Fails to State a Claim Under Section 11(b) of the Voting
                   Rights Act (Count II)
         Plaintiff’s claim under Section 11(b) of the Voting Rights Act (the “VRA”),

is as poor a fit for his grievance as his Civil Rights Act claim, if not more so.

                   1.   VRA Section 11(b) Does Not Create a Private Cause of Action

         Section 11(b) of the VRA authorizes enforcement only by the Attorney

General. It does not expressly authorize private enforcement. See 52 U.S.C.

                                           -9-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 11 of 30




§ 10307(b). Nor may a private right of action be implied. “[P]rivate rights of action

to enforce federal law must be created by Congress,” so “[t]he judicial task is to

interpret the statute…to determine whether it displays an intent to create not just a

private right but also a private remedy.” Alexander v. Sandoval, 532 U.S. 275, 286

(2001); see In re Wild, 994 F.3d 1244, 1255 (11th Cir. 2021) (deeming Sandoval

“our lodestar”). VRA Section 11(b) does not neither. Its “[n]o person…shall”

language “is directed to the regulated party, not the party to be protected” and, thus,

“does not, under the Supreme Court’s precedents, confer any new right on voters.”

Schilling v. Washburne, 592 F. Supp. 3d 492, 498 (W.D. Va. 2022).

         “Statutes that focus on the person regulated rather than the individuals

protected create no implication of an intent to confer rights on a particular class of

persons.” Sandoval, 532 U.S. at 289. “Nor do the methods that [it] goes on to provide

for enforcing its authorized regulations manifest an intent to create a private remedy;

if anything, they suggest the opposite.” Id. Indeed, “the statute expressly delegates

enforcement authority to the Attorney General,” to the exclusion of a private remedy.

Schilling, 592 F. Supp. 3d at 498; Love v. Delta Air Lines, 310 F.3d 1347, 1353 (11th

Cir. 2002) (“If th[e] statutory structure provides a discernible enforcement

mechanism, Sandoval teaches that we ought not imply a private right of action.”).




                                         -10-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 12 of 30




         Controlling precedent “demand[s] clear evidence of congressional intent as a

prerequisite to a private right of action,” Wild, 994 F.3d at 1255, and the text of VRA

§ 11(b) forecloses any claim Congress intended to provide a private right of action.

                   2.   Plaintiff Lacks Standing to Pursue a Voter-Intimidation Claim
         Even if VRA §11(b) created a private right of action, Plaintiff lacks standing

to pursue it. Standing requires “the plaintiff must have suffered an ‘injury in fact’—

an invasion of a legally protected interest which is (a) concrete and particularized,

and (b) actual or imminent, not ‘conjectural’ or ‘hypothetical.’” Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560 (1992) (cleaned up). In addition, “there must be a

causal connection between the injury and the conduct complained of—the injury has

to be fairly...trace[able] to the challenged action of the defendant, and not…th[e]

result [of] the independent action of some third party.” Id. (quotation marks omitted).

         Plaintiff’s VRA claim fails on both counts. First, he has no concrete injury,

having voted in 2020, continued voting in every election thereafter, and aiding

family members in voting throughout. (Doc. 27 at ¶¶ 81, 82, 239, 234, 236, 239.)

“[T]his means…he was not personally injured by the [alleged] intimidation” and

therefore lacks standing. Moore v. Cecil, No. 19-cv-1855, 2021 WL 1208870, at *11

(N.D. Ala. Mar. 31, 2021). Ultimately, the gravamen of Plaintiff’s claim is not that

he was injured, but that others might be and that he is “scared” and “upset.” (See


                                           -11-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 13 of 30




Doc. 27 at ¶¶ 218-224, 240, 241, 262.) Second, as described above, the FAC alleges

that any “threats” and “intimidation” were the independent actions of third parties,

not Salem or Regnery. (See, e.g., Doc. 27 at ¶¶ 198-211.) Thus, there is no causal

connection between Plaintiff’s alleged injury and any action by Salem or Regnery.

                   3.   Plaintiff Fails to Plausibly Allege Either Element of His Claim
         The FAC fails to plausibly allege either required element of a VRA § 11(b)

claim. “[I]n order to succeed on such a claim, a plaintiff must show both an act of

intimidation or attempt to intimidate, and that the act was done with the specific

intent to intimidate or attempt to intimidate.” Parson v. Alcorn, 157 F. Supp. 3d 479,

498 (E.D. Va. 2016) (citation omitted). As noted above, the FAC does not plausibly

allege any act or attempt to intimidate Plaintiff by Salem or Regnery. Nor does it

allege that either “has any intent to prevent [Plaintiff’s] vote.” Id. Instead, the FAC’s

factual allegations convey only that these media companies participated in producing

media products. Those allegations do not make plausible any claim – and the FAC

does not even allege it in conclusory fashion – that Salem or Regnery did so to

intimidate Plaintiff from exercising his voting rights.

         E.        The FAC Fails to State a Claim Against Salem or Regnery for
                   Defamation (Count III)
         Plaintiff’s claim for defamation and defamation per se against Salem and

Regnery fails as a matter of law for at least two reasons.

                                            -12-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 14 of 30




                   1.   Plaintiff’s Allegations Show that Salem and Regnery Made No
                        Statement “Of and Concerning” Plaintiff
         To establish the first element of a defamation claim – i.e., a false and

defamatory statement “of and concerning” the plaintiff – “the allegedly defamatory

words or picture must refer to some ascertained or ascertainable person, and that

person must be the plaintiff.” Collins v. Creating Loafing Savannah, Inc., 264 Ga.

App. 675, 678 (2003); Mathis v. Cannon, 276 Ga. 16, 20-21 (2002). The plaintiff

“has the burden of showing, inter alia, that the publication was about the plaintiff,

that is, whether it was of and concerning [the plaintiff] as a matter of identity.” 800

Mktg. Sols., Inc. v. GMAC Ins. Mgmt. Corp., 2008 WL 2777140, at *5 (M.D. Ga.

July 14, 2008) (quoting Smith v. Stewart, 291 Ga. App. 86, 92 (2008)). “If the words

or picture used really contain[] no reflection on any particular individual, no

averment or innuendo can make them defamatory. An innuendo cannot make the

person certain which was uncertain before.” Collins, 264 Ga. App. at 678.

         The only statements and images that could possibly be attributed to Salem or

Regnery are those contained in the film and the book.3 Plaintiff does not (and cannot)


3
  The FAC does not identify any statements outside of the film or book that were
allegedly made by Salem or Regnery. Moreover, the FAC identifies only one
specific statement in the film and one statement in the book that Plaintiff contends
are defamatory. (See Doc. 27 at ¶¶ 7, 74, 163) Although Plaintiff claims Defendants
Engelbrecht and Phillips showed an unblurred image of him on The Charlie Kirk
Show and vaguely alleges Salem “produces” that show, it is not clear if Plaintiff
                                          -13-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 15 of 30




allege that he is identified by name, that his face is shown, that the license plate of

his vehicle is shown, or that he is otherwise identifiable in either the film or the book.

To the contrary, Plaintiff affirmatively alleges that every time his image was shown

in the film or the book, his face was completely blurred. (See Doc. 27 at ¶¶ 38-39,

45, 74.) Thus, any statements in the film or book were made solely in reference to

an unidentified, anonymous, and obscured person. The only instances in which

Plaintiff alleges his face and license plate were shown without being blurred were

by defendants other than Salem or Regnery in separate news appearances or on other

platforms. (See id. at ¶¶ 49-52, 56, 63, 85, 90, 126, 147, 156 n.151, 157, 244.)


contends any of the statements made on that show are actionable in this case and, if
so, who is responsible for them. (Id. at ¶ 49.) To the extent Plaintiff intended to assert
a claim against Salem based on any statements made by other Defendants on The
Charlie Kirk Show, that claim would fails because: (1) the FAC does not allege
Plaintiff was identifiable as a result of any such statements; (2) the FAC does not
allege Salem published any such statements (to the contrary, it alleges the episode
was “published” on Rumble); (3) the FAC does not allege any actionable statements
attributed to Salem; and (4) even if it did, any such statements are conditionally
privileged and Plaintiff has not alleged they were published by Salem with actual
malice. (See infra at § III.I.) Moreover, to the extent Plaintiff’s defamation claim is
based on any other allegedly defamatory statements, it necessarily fails as to Salem
and Regnery because he has not identified any such statements made by them. See
Sarver v. Jackson, 344 F. App’x. 526, 529 (11th Cir. 2009) (holding district court
“correctly found [plaintiff] failed to state a claim [for slander, libel, or defamation],
as her complaint failed to identify any specific written or verbal statements attributed
to the defendants”); Khadija v. Fannie Mae, 2012 WL 6681736, at *10 (N.D. Ga.
Nov. 30, 2012) report and recommendation adopted by 2012 WL 6677990 (N.D.
Ga. Dec. 21, 2012) (dismissing claim for libel and defamation where plaintiffs failed
to allege “the specific statements Defendants made or when they made them”).
                                          -14-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 16 of 30




         In short, there is nothing in the film or the book from which any viewer could

identify Plaintiff. See Escort, 2005 WL 8155369, at *3 (referencing “the average

reader” and “reasonable juror” as test for whether statements concerned plaintiffs);

Southland Pub. Co. v. Sewell, 111 Ga. App. 803, 807 (1965). Plaintiff does not even

allege that anyone recognized him from the blurred images in the film or the book.

Accordingly, none of the statements in the film or book “refer to some ascertained

or ascertainable person,” much less Plaintiff, and none of those statements were “of

and concerning” Plaintiff as a matter of law. See Collins, 264 Ga. App. at 678-679

(cartoon loosely based on plaintiff’s likeness was not “of and concerning” plaintiff

and could not support a claim for defamation where article accompanying cartoon

did not identify plaintiff, cartoon was “not recognizable” as plaintiff absent

additional evidence, and there was no evidence that anyone recognized cartoon as

plaintiff by viewing it); Fiske v. Stockton, 171 Ga. App. 601, 602 (1984) (allegedly

defamatory statements that did not name or identify plaintiffs and that, on their face,

“really contain[ed] no reflection on any particular individual,” were not actionable,

despite the fact witnesses testified they knew the publication was about plaintiffs).

         Like the illustration in Collins, the blurred image of Plaintiff in the film and

book is not recognizable as Plaintiff without additional evidence. Collins, 264 Ga.

App. at 678-679; see also Eakin v. Rosen, 2017 WL 5709564, at *3 (M.D. Ga. Nov.


                                           -15-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 17 of 30




27, 2017) (recognizing “the defamed person must be able to be identified through

the words contained in the defamatory statement,” not through “extrinsic” evidence).

And, like the statements in Fiske, none of the statements in the film or book names

or otherwise identifies Plaintiff. Fiske, 171 Ga. App. at 602; see also Escort, 2005

WL 8155369, at *6 (dismissing libel claims where plaintiffs did not, and could not,

plead allegedly libelous directories “refer[] to them by name or that their names are

immediately ascertainable to the average reader perusing these directories”).

         Where, as here, a speaker is “meticulous enough to preserve the anonymity of

an individual about whom damaging information is given, the speaker should not be

exposed to liability for defamation because someone else ferrets out the identity of

the individual and couples it with the speaker’s statement in a later publication. In

that scenario, the speaker’s words cannot be characterized as having been ‘of and

concerning’ the plaintiffs.” Vantassell-Matin v. Nelson, 741 F. Supp. 698, 710 (N.D.

Ill. 1990); Mac Isaac v. Twitter, Inc., 557 F. Supp. 3d 1251, 1260 (S.D. Fla. 2021)

(dismissing defamation claim where tweets used generic terms that did not make

plaintiff’s identity readily ascertainable, recognizing “law will not subject Defendant

to liability where it was meticulous enough to preserve Plaintiff’s anonymity”).

         According to Plaintiff’s own allegations, Salem and Regnery purposefully

avoided identifying Plaintiff or anyone else in the film or the book by blurring their


                                         -16-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 18 of 30




images. (See Doc. 27 at ¶¶ 38-39, 45, 74.) Because Salem and Regnery were

meticulous enough to preserve Plaintiff’s anonymity, and none of the statements or

images in the film or book are “of and concerning” Plaintiff, his defamation claim

against Salem and Regnery fails as a matter of law.

                   2.   Plaintiff’s Claim for Defamation Per Quod Should Be Dismissed
                        Because Plaintiff Failed to Plead Special Damages.

         Under Georgia law, a “written defamatory statement may be actionable either

as libel per se or libel per quod.” Eakin, 2017 WL 5709564, at *3. The FAC appears

to assert both. (See Doc. 27 at p. 117.) Even if Plaintiff could show any of the

statements in the film or book are “of and concerning” him, the FAC fails to state a

claim for defamation per quod because Plaintiff did not plead special damages.

         “An essential element of an action for libel per quod is that the plaintiff be

able to show special damages.” Zarach v. Atlanta Claims Ass’n, 231 Ga. App. 685,

689 (1998). Special damages “must be the loss of money, or of some other material

temporal advantage capable of being assessed in monetary value.” Id. Moreover, a

“heightened pleading standards applies to special damages, which must be

specifically stated.” Eakin, 2017 WL 5709564, at *5. Plaintiff does not specifically

allege any financial or economic damage he has suffered as a result of any allegedly

defamatory statements in the film or the book. Accordingly, Plaintiff’s claim for

defamation per quod fails as a matter of law. See Zarach, 231 Ga. App. at 689.

                                           -17-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 19 of 30




         F.        The FAC Fails to State a Claim Against Salem or Regnery for
                   Invasion of Privacy by False Light (Count IV)

         Under Georgia law, a false light claim cannot “survive as a separate cause of

action” from defamation unless it “allege[s] a nondefamatory statement. If the

statements alleged are defamatory, the claim would be for defamation only, not false

light invasion of privacy.” Smith, 291 Ga. App. at 100 (citation omitted).

         Plaintiff’s false light claim is based on the same statements as his defamation

claim. (See Doc. 27 at ¶¶ 295–306 (incorporating defamation claim into false light

claim and citing the same statements and conduct as the basis for both).) Plaintiff’s

false light claim is thus subsumed by his defamation claim and fails as a matter of

law. See Bollea v. World Championship Wrestling, 271 Ga. App. 555, 557 n.1 (2005)

(false light claim “subsumed in [] defamation claim”); Smith, 291 Ga. App. at 100

(false light claim “is encompassed by [plaintiff’s] defamation claim”).

         Plaintiff’s false light claim also fails because Plaintiff cannot establish an

essential element of his claim – i.e., that Salem or Regnery disseminated false

information to the public that “depicts [Plaintiff] as something or someone which

[he] is not.” Ass’n Servs., Inc. v. Smith, 249 Ga. App. 629, 633 (2001). As explained

above, Plaintiff was never named or identified in the film or book, and all possible

identifying aspects of Plaintiff in the film and the book were redacted. Thus, neither

Salem nor Regnery could have “depict[ed]” Plaintiff in any way, much less in a false

                                           -18-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 20 of 30




light. See, e.g., Collins, 264 Ga. App. at 679 (holding false light claim failed because

plaintiff was not readily identifiable in publication on which her claim was based).

         G.        The FAC Fails to State a Claim Against Salem or Regnery for
                   Invasion of Privacy by Appropriation of Likeness (Count V)

         The tort of appropriation of likeness “consists of the appropriation, for the

defendant’s benefit, use or advantage, of the plaintiff’s name or likeness.” Martin

Luther King, Jr. Ctr. for Soc. Change, Inc. v. Am. Heritage Prods., Inc., 250 Ga.

135, 143 (1982) (citation omitted). To prevail on an appropriation of likeness claim,

a plaintiff must show, among other things, that: (1) the defendant intended to

appropriate the plaintiff’s likeness; and (2) the plaintiff’s likeness was readily

recognizable in the publication upon which the plaintiff bases his claim. See Tana v.

Dantanna’s, 611 F.3d 767, 782 (11th Cir. 2010) (applying Georgia law and holding

“an appropriation of likeness without an intent to use the likeness for one’s benefit

fails to meet the very definition of the tort itself”); Collins, 264 Ga. App. at 679

(appropriation of likeness claim failed where plaintiff was not readily identifiable).

         Plaintiff’s appropriation of likeness claim fails as a matter of law because the

FAC shows that neither Salem nor Regnery ever used, much less intended to use,

Plaintiff’s likeness. Again, Plaintiff does not allege that he was named or otherwise

identified in the film or the book, and he admits that his image was blurred in both

the film and book. (See Doc. 27 at ¶¶ 38-39, 45, 74.) Thus, Plaintiff’s likeness was

                                           -19-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 21 of 30




not readily recognizable in the film or book or otherwise shown or used by Salem or

Regnery. Collins, 264 Ga. App. at 679; see also Branson v. Fawcett Publications,

124 F. Supp. 429, 431-433 (E.D. Ill. 1954) (holding claim for invasion of privacy by

appropriation of likeness failed where picture at issue was “blurred” because,

standing alone, the picture did not “identify the plaintiff” or any particular person).

         Moreover, the fact that Salem and Regnery blurred the images of Plaintiff in

the book and film shows that Salem and Regnery did not intend to appropriate his

likeness. Indeed, because efforts were made by Salem and Regnery to avoid

identifying Plaintiff, there could be no intentional appropriation of his likeness.

         H.        Plaintiff’s Invasion of Privacy Claims (Counts IV and V) Fail
                   Because the Statements at Issue Involve a Matter of Public Interest

         The Eleventh Circuit has recognized the “right to privacy and corresponding

right of publicity are necessarily in tension with the First Amendment’s protection

of freedom of speech and of the press.” Toffoloni v. LFP Publ’g Grp., LLC, 572 F.3d

1201, 1207 (11th Cir. 2009). To accommodate these “competing constitutionally

protected rights,” Georgia courts “have adopted a ‘newsworthiness’ exception” to

the right of privacy. Id. at 1208. Specifically, the Georgia Supreme Court has held

that “where an incident is a matter of public interest, or the subject matter of a public

investigation, a publication in connection therewith can be a violation of no one’s

legal right of privacy.” Id. (quoting Waters v. Fleetwood, 212 Ga. 161, 166 (1956)).

                                            -20-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 22 of 30




         The subject matter of the film and the book – i.e., election integrity generally

and the integrity of the 2020 election specifically – is unquestionably a matter of

public interest and concern. Indeed, it has been the subject of countless national and

local news reports, dozens of lawsuits across the country, and legislative changes

and a special grand jury investigation in Georgia over the last two years. The blurred

image of Plaintiff dropping off ballots at a public drop box was used in the film and

the book in connection with reporting to the public on that matter of public interest

and concern. The film and book – and the blurred image of Plaintiff contained therein

– are therefore newsworthy and cannot violate Plaintiff’s right to privacy as a matter

of law. See Waters, 212 Ga. at 167 (affirming dismissal of invasion of privacy claim

by mother of 14-year-old murder victim against newspaper that published and sold

photos of her daughter’s decomposing body for pecuniary gain because publication

and reproduction of photos was related to matter of public interest – i.e., the murder

and related investigation). Accordingly, Plaintiff’s claims for invasion of privacy by

false light and appropriation of likeness fail to state a claim and should be dismissed.

         I.        Plaintiff’s Claims for Defamation, False Light, and Appropriation
                   of Likeness (Counts III to V) Also Fail Because the Statements at
                   Issue Are Privileged and Plaintiff Has Not Alleged Actual Malice

         Georgia law deems certain speech conditionally privileged, including:

         [s]tatements made in good faith as part of an act in furtherance of the
         person’s or entity’s right of petition or free speech under the

                                           -21-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 23 of 30




         Constitution of the United States or the Constitution of the State of
         Georgia in connection with an issue of public interest or concern, as
         defined in subsection (c) of O.C.G.A. § 9-11-11.1.
O.C.G.A. § 51-5-7(4). 4 If a statement is privileged, it cannot form the basis of a

claim for defamation, false light, or invasion of privacy, unless the plaintiff proves

the statement was published with “actual malice.” Wertz v. Allen, 313 Ga. App. 202,

207 (2011); see Rabun v. McCoy, 273 Ga. App. 311, 311 (2005) overruled on other

grounds by West v. City of Albany, 300 Ga. 743 (2017) (recognizing privileges in

O.C.G.A. § 51-5-7 apply to “any other tort based on communications”).

         As explained above, the statements and images in the film and book were

published by Salem and Regnery in furtherance of their right of free speech on issues

of significant public interest and concern – i.e., election integrity and the integrity of

the 2020 election. Accordingly, all of those statements are privileged, and none of

them is actionable as a tort, unless Salem or Regnery acted with “actual malice.”

         To establish actual malice to defeat the privilege, Plaintiff must show that

Salem and Regnery published the statements in the film and book with knowledge

that they were false or with reckless disregard for whether they were false. Rabun,


4
  O.C.G.A. § 9-11-11.1(c) broadly defines an act in furtherance of the right of free
speech to include “[a]ny written or oral statement . . . made in a place open to the
public or a public forum in connection with an issue of public interest or concern”
and “[a]ny other conduct in furtherance of the exercise of the constitutional right of
. . . free speech in connection with a public issue or an issue of public concern.”
                                          -22-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 24 of 30




273 Ga. App. at 316. “Unsupported inferences or conjecture regarding a defendant’s

motivation do not suffice to show malice.” Neff v. McGee, 346 Ga. App. 522, 59

(2018). Instead, the plaintiff must show “in a clear and convincing manner that a

defendant in fact entertained serious doubts as to the truth of his statements.” Id.

         The FAC contains no factual allegations suggesting Salem or Regnery knew

that any of the statements in the film or book were false or acted with reckless

disregard for their truth. Indeed, Plaintiff’s only allegations related to actual malice

that identify a specific defendant exclusively concern the knowledge and conduct of

other Defendants and third parties. (See, e.g., Doc. 27 at ¶¶ 115, 117, 119, 125-127,

129-132, 135-136.) Moreover, the conclusory allegation that unspecified

“Defendants knew of the falsity of their statements … and/or acted with reckless

disregard as to the falsity of those statements. That is, they acted with actual

malice[,]” id. at ¶ 99, fails to plead actual malice as a matter of law. See Mayfield v.

NASCAR, 674 F.3d 369, 378 (4th Cir. 2012) (affirming dismissal of defamation

claim where plaintiff made only conclusory allegations of malice).

         In sum, the statements in the film and book are conditionally privileged, and

Plaintiff failed to allege any facts suggesting that Salem or Regnery acted with actual

malice. Accordingly, Plaintiff’s claims for defamation, false light, and appropriation

of likeness all fail as a matter of law and should be dismissed.


                                          -23-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 25 of 30




         J.        Plaintiff’s Claim for Civil Conspiracy (Count VI) Fails

         Because Plaintiff’s underlying tort claims against Salem and Regnery fail, his

claim that they conspired to commit those torts also fails. Mustaqeem–Graydon v.

SunTrust Bank, 258 Ga. App. 200, 207 (2002). Even if Plaintiff sufficiently alleged

any of the other Defendants committed a tort by disseminating Plaintiff’s unblurred

image or other identifying information, he has not alleged Salem or Regnery agreed

to, took part in, or even had any knowledge that any of the other Defendants did so.

In other words, Plaintiff fails to allege that Salem and Regnery acted in concert with

anyone else to commit a tort. Id. And, in fact, Salem and Regnery could not have

conspired to defame Plaintiff, to portray him in a false light, or to misappropriate his

likeness because, as Plaintiff admits, they took affirmative steps to ensure Plaintiff

was never identified or identifiable in the film or book. (Doc. 27 at ¶¶ 38-39, 45, 74.)

         K.        Plaintiff’s Claim for Punitive Damages (Count VII) Fails

         Plaintiff cannot state a claim for punitive damages against Salem or Regnery

because he failed to state a valid underlying claim against either of them. Boeing Co.

v. Blane Intl. Group, 276 Ga. App. 672, 676 (2005). Moreover, Plaintiff cannot show

Salem or Regnery engaged in willful misconduct or acted with malice, as required

for a claim for punitive damages, O.C.G.A. § 51-12.5.1, because he admits Salem

and Regnery took affirmative steps to ensure Plaintiff’s identity was not disclosed.


                                            -24-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 26 of 30




         Finally, Plaintiff’s claim for punitive damages against Regnery independently

fails because Plaintiff did not send a valid demand for retraction to Regnery under

O.C.G.A. § 51-5-11 before filing suit. “The plain language” of Georgia’s retraction

statute “provides that as a precondition to the recovery of punitive damages, a libel

plaintiff first must ‘request a correction or retraction before filing their civil action

against any person for publishing a false, defamatory statement.’” Bell v. Johnson

Publ’g Co., LLC, 2018 WL 357888, at *7 (M.D. Ga. Jan. 10, 2018). While Plaintiff

claims he sent a “retraction” letter to Regnery, his own allegations show that he

could not have demanded a retraction because he sent the letter before the book was

even published. (Doc. 27 at ¶¶ 9, 70, 164.) And, in fact, the letter does not demand

a retraction of any kind.5 Accordingly, Plaintiff is barred from recovering punitive

damages from Regnery as a matter of law. O.C.G.A. § 51–5–11.

                                  IV.   CONCLUSION

         For the foregoing reasons, Salem and Regnery respectfully request that the

Court dismiss the FAC against them in its entirety.




5
  The letter Plaintiff sent to Regnery is attached as Exhibit A. The Court may
consider this document without converting this Motion into one for summary
judgment because the document is “central to the plaintiff’s claim” for punitive
damages and “the authenticity of the document is not challenged.” Hammond v.
Home Depot, USA, 2006 WL 8432819, at *3 (N.D. Ga. May 16, 2006).
                                          -25-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 27 of 30




         Respectfully submitted this 13th day of January, 2023.


                                                /s/ S. Derek Bauer
                                                S. DEREK BAUER
                                                Georgia Bar No. 042537
                                                dbauer@bakerlaw.com
                                                IAN K. BYRNSIDE
                                                Georgia Bar No. 167521
                                                ibyrnside@bakerlaw.com
                                                KRISTEN RASMUSSEN
                                                Georgia Bar No. 135018
                                                krasmussen@bakerlaw.com
                                                JACQUELINE T. MENK
                                                Georgia Bar No. 728365
                                                jmenk@bakerlaw.com
                                                GEORGIA L. BENNETT
                                                Georgia Bar No. 495910
                                                gbennett@bakerlaw.com

                                                BAKER & HOSTETLER LLP
                                                1170 Peachtree Street, NE, Suite 2400
                                                Atlanta, Georgia 30309-7676
                                                Telephone: (404) 459-0050
                                                Facsimile: (404) 459-5734
                                                Attorneys for Defendants
                                                Salem Media Group, Inc.
                                                and Regnery Publishing, Inc.




                                         -26-
4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 28 of 30




                            RULE 7.1(D) CERTIFICATE

         The undersigned counsel certifies that this document has been prepared with

Times New Roman 14-point font in accordance with Local Rule 5.1.C.

         This 13th day of January, 2023.

                                              /s/ S. Derek Bauer
                                              S. DEREK BAUER
                                              Georgia Bar No. 042537




4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 29 of 30




                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the within and

foregoing BRIEF IN SUPPORT OF DEFENDANTS SALEM MEDIA GROUP

INC.’S AND REGNERY PUBLISHING, INC.’S MOTION TO DISMISS was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to all attorneys of record:

                   Von A. DuBose
                   DuBose Miller, LLC
                   75 14th Street NE, Suite 2110
                   Atlanta, GA 30309
                   dubose@dubosemiller.com

                   Sarah Chimene-Weiss
                   Protect Democracy Project
                   7000 N. 16th Street, Suite 120, #430
                   Phoenix, AZ 85020
                   Sara.chimene-weiss@protectdemocracy.org

                   Rachel F. Homer
                   Protect Democracy Project
                   2020 Pennsylvania Avenue NW, #163
                   Washington, DC 20006
                   Rachel.homer@protectdemocracy.org

                   Rachel E. Goodman
                   John Paredes
                   Protect Democracy Project
                   82 Nassau Street, #601
                   New York, NY 10038
                   Rachel.goodman@protectdemocracy.org
                   John.paredes@protectdemocracy.org




4892-2080-0073.1
         Case 1:22-cv-04259-SDG Document 48-1 Filed 01/13/23 Page 30 of 30




                   Jared Fletcher Davidson
                   Protect Democracy Project
                   3014 Dauphine Street, Suite J
                   New Orleans, LA 70117
                   Jared.davidson@protectdemocracy.org

                   Lea Haber Kuck
                   One Manhattan West
                   New York, NY 10001-8602
                   Lea.kuck@probonolaw.com

                   Rajiv Madan
                   Paige Braddy
                   1440 New York Avenue NW
                   Washington, DC 20005
                   Raj.madan@probonolaw.com
                   Paige.braddy@probonolaw.com

                   Vernon Thomas
                   155 N. Wacker Drive
                   Chicago, IL 60606-1720
                   Vernon.thomas@probonolaw.com

                   Amanda Hyland
                   Taylor English Duma LLP
                   Suite 200, 1600 Parkwood Circle
                   Atlanta, GA 30339
                   ahyland@taylorenglish.com

         This 13th day of January, 2023.

                                                  /s/ S. Derek Bauer
                                                  S. DEREK BAUER
                                                  Georgia Bar No. 042537




                                           -29-
4892-2080-0073.1
